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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Greenbelt Division)

In re:                                             :
                                                   :
MARIA ANDREA HUERTA,                               :   Case No. 16-20336 (WIL)
                                                   :   Chapter 13
                               Debtor              :

                                 AMENDED CHAPTER 13 PLAN


                ___ Original Plan       _X__ Amended Plan ___ Modified Plan

       The Debtor proposes the following Chapter 13 plan and makes the following
declarations:

         1.     The future earnings of the Debtor are submitted to the supervision and control of
         the Trustee and the Debtor will pay as follows (select only one):

         a.     $ _ _ per month for a term of __ months. OR

         b.     $ _1,200.00_ per month for _50_ month(s), and
                $ _1,700.00__ per month for _10_ month(s), for a total term of _60_ months.

                [IN ADDITION, Debtor shall contribute a lump sum payment of $60,000.00 on
                the date of confirmation of the Plan, and a second lump sum payment of $10,000
                on March 31st, 2017.]

         c.     $ ____ per month prior to confirmation of this plan, and $ __ per month after
                confirmation of this plan, for a total term of ___ months (if this option is selected,
                complete 2.e.i).

         The Debtor shall provide the Trustee with copies of State & Federal tax returns for the
         years designated below within 15 days of filing the returns (and shall timely file the
         returns on or before April 15 of each year due). No later than June 1st of each year, the
         Debtor shall pay into the plan the amount of refunds exceeding _$0.00__ (the amount
         already pro-rated on Schedule I, if any) for each of the designated years. The tax refund
         payments will be in addition to, not a credit against, the monthly payments required to be
         paid under the plan. The Debtor(s) shall not make any change to the amount of annual
         tax withholdings under the W-4 statements(s) existing as of the date of the petition
         without 30 days prior notice to the Trustee.

         This commitment covers tax years: 2016 through 2020.
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2.     From the payments received, the Trustee will make the disbursements described
below:

       a.    Allowed unsecured claims for domestic support obligations and Trustee’s
       commissions.

       b.     Administrative claims under 11 U.S.C. § 507(a) (2), including attorney’s
       fee balance of $1,500.00 (unless allowed for a different amount upon prior or
       subsequent objection). Payments shall be made in accordance with Appendix F to
       the Local Rules.

       c.    Claims payable under 11 U.S.C. § 1326(b) (3). Specify the monthly
       payment: $ ____________.

       d.     Other priority claims defined by 11 U.S.C. § 507(a) (3) – (10). The
       Debtor anticipates the following claims:

       e.     Concurrent with payments on non-administrative priority claims, the
       Trustee will pay secured creditors as follows:

       i.        Until the plan is confirmed, adequate protection payments and/or personal
                 property lease payments on the following claims will be paid directly by
                 the Debtor; and, after confirmation of the plan, the claims will be treated
                 as specified in 2.e.iii, below (designate the amount of the monthly
                 payment to be made by the Debtor prior to confirmation, and provide the
                 redacted account number (last 4 digits only), if any, used by the claimant
                 to identify the claim):

       ii.       Pre-petition arrears on the following claims will be paid through equal
                 monthly amounts under the plan while the Debtor maintains post-petition
                 payments directly (designate the amount of anticipated arrears, and the
                 amount of the monthly payment for arrears to be made under the plan):

                 Claimant              Anticipated Arrears    Mo. Payment No. of Mo.

                 One West Bank         $122,281.14            $2,038.02              60

       iii.      The following secured claims will be paid in full, as allowed, at the
                 designated interest rates through equal monthly amounts under the plan:

       iv.       The following secured claims will be satisfied through surrender of the
                 collateral securing the claims (describe the collateral); any allowed claims
                 for deficiencies will be paid pro rata with general unsecured creditors;
                 upon confirmation of the plan, the automatic stay is lifted, if not modified
                 earlier, as to the collateral of the listed creditors:
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                Claimant                                     Collateral
                None

       v.       The following secured claims are not affected by this plan and will be paid
                outside of the plan directly by the Debtor:

                American Honda Finance Corporation (2014 Honda Civic)

       vi.      If any secured claim not described in the previous paragraphs is filed and
                not disallowed, that claim shall be paid or otherwise dealt with outside of
                the plan directly by the Debtor, and it will not be discharged upon
                completion of the plan.

       f.      After payment of priority and secured claims, the balance of funds will be
       paid pro rata on allowed general, unsecured claims. (If there is more than one
       class of unsecured claims, describe each class.)

       Any allowed unsecured claims for which the Debtor and the Debtor’s spouse
       are jointly liable (if any) shall be paid in full through the Plan.

3. The amount of each claim to be paid under the plan will be established by the creditor's
proof of claim or superseding Court order. The Debtor anticipates filing the following
motion(s) to value a claim or avoid a lien. (Indicate the asserted value of the secured
claim for any motion to value collateral.):

Creditor                      Collateral                            Asserted Value

4. Payments made by the Chapter 13 trustee on account of arrearages on pre-petition
secured claims may be applied only to the portion of the claim pertaining to pre-petition
arrears, so that upon completion of all payments due under the Plan, the loan will be
deemed current through the date of the filing of this case. For the purposes of the
imposition of default interest and post-petition charges, the loan shall be deemed current
as of the filing of this case.

5. Secured Creditors holding claims subject to cram down will retain their liens until the
earlier of the payment of the underlying debt determined under non-bankruptcy law, or
discharge under § 1328; and if the case is dismissed or converted without completion of
the plan, the lien shall also be retained by such holders to the extent recognized under
applicable non-bankruptcy law.

6. The following executory contracts and/or unexpired leases are assumed (or rejected, so
indicate); any unexpired lease with respect to personal property that has not previously
been assumed during the case, and is not assumed in the plan, is deemed rejected and the
stay of §§ 362 and/or 1301 is automatically terminated:

Contract                              Intent
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      None

      7. Title to the Debtor’s property shall revest in the Debtor when the Debtor is granted a
      discharge pursuant to 11 U.S.C. §1328, or upon dismissal of the case, or upon closing of
      the case.

      8. Non-standard Provisions:
      None


Date: ___10/18/16_________                         _/s/ __Maria Andrea Huerta_______
                                                   Maria Andrea Huerta


__/s/ Augustus T. Curtis_______                                   _______
Attorney for Debtor                                Joint Debtor
Augustus T. Curtis, Esq.
Cohen, Baldinger & Greenfeld, LLC
2600 Tower Oaks Boulevard, Suite 103
Rockville, MD 20852
(301) 881-8300
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have served the enclosed Chapter 13 Plan on the parties entitled to
service thereof via the CM/ECF system, or, where such service was not possible, by causing a
true and correct copy of same to be placed in the United States Mail, postage prepaid addressed
to the United States Trustee, the Chapter 13 Trustee, and the parties on the Court’s mailing
matrix.

October 18, 2016

                                              /s/ Augustus T. Curtis           .
                                              Augustus T. Curtis
Label Matrix for local noticing         Case 16-20336
                                                  American Doc
                                                           Honda 19     Filed 10/18/16
                                                                 Financial               Page 6CITofBank,
                                                                                                     6 NA
0416-0                                              13856 Ballantyne Corp                      fka OneWest Bank
Case 16-20336                                       Charlotte, NC 28277-2711                   6900 Beatrice Drive
District of Maryland                                                                           Kalamazoo, MI 49009-9559
Greenbelt
Tue Aug 23 21:17:21 EDT 2016
Comptroller of the Treasury                         State of Maryland DLLR                     Synchrony Bank/GAP Card
Compliance Division, Room 409                       Division of Unemployment Insurance         PO Box 960061
301 W. Preston Street                               1100 N. Eutaw Street, Room 401             Orlando, FL 32896-0061
Baltimore, MD 21201-2305                            Baltimore, MD 21201-2225


Taxing Authority of Montgomery County               Augustus T Curtis                          Maria Andrea Huerta
Division of Treasury                                Cohen, Baldinger & Greenfeld, LLC          15804 Lautrec Court
255 Rockville Pike, Ste. L-15                       2600 Tower Oaks Blvd.                      North Potomac, MD 20878-3460
Rockville, MD 20850-4188                            Suite 103
                                                    Rockville, MD 20852-4281

Timothy P. Branigan                                 End of Label Matrix
14502 Greenview Drive                               Mailable recipients     9
Suite 506                                           Bypassed recipients     0
Laurel, MD 20708-4222                               Total                   9
